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                 Exhibit 2
         (Beute Emails Accusing Dorworth)
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                                                   Sunday, April 11, 2021 at 4:20:19 PM Eastern Daylight Time

Subject:    FW: Inves*ga*on into False Police Report Against Brian Beute
Date:       Friday, April 9, 2021 at 2:31:51 PM Eastern Daylight Time
From:       Tirado, Jose L
To:         Cannaday, Kim
AFachments: February 2019 Defamatory E-Mail.pdf, October - Engels Request for Beute Personnel File.pdf,
            Joel Greenberg Partnering With Local Dog Rescue This Saturday - Central Florida Post.pdf,
            With $240k In Bitcoin, Seminole Tax Collector Files For 2020 Elec*on - Central Florida Post.pdf




From: David Bear <David@BearLegalSolu*ons.com>
Sent: Wednesday, October 30, 2019 12:59 PM
To: Tirado, Jose L <JTirado@seminolesheriﬀ.org>
Subject: RE: Inves*ga*on into False Police Report Against Brian Beute


      EXTERNAL EMAIL: Do not click any links or open any attachments unless you trust the
                        sender and know the content is safe.

Detec*ve Tirado, a\ached is the February 2019 defamatory e-mail from Jacob Engels to Trinity
regarding Brian. As discussed in yesterday’s e-mail and in the cease and desist le\ers a\ached to it,
Engels was clearly ac*ng at the direc*on of Dorworth when he wrote that. The obvious intent was to
in*midate Brian into silence by trying to use Trinity’s fear of being *ed to controversy as a tool. That
by itself was repugnant, but probably not a crime. It does give us evidence of who perpetrated the
current crime of false repor*ng, though. Also a\ached is Engels conveniently *med e-mail to Trinity
yesterday (10/29) reques*ng Brian’s personnel ﬁle. This is one more strong piece of evidence tying
Engels to the criminal October 2019 defamatory le\er which falsely alleged that Brian commi\ed
heinous acts.

I want to make sure you have some background context on Engels to assist in deciphering his e-mails.
Engels has been playing these kinds of in*mida*on for hire games for a long *me. His business model
*es back to what connected him with and what he has learned from whom he calls his mentor, Roger
Stone h\ps://www.thedailybeast.com/meet-jacob-engels-roger-stones-mini-me – a self described
‘dirty trickster’ h\ps://www.washingtonpost.com/poli*cs/2019/02/21/roger-stones-dirty-tricks-just-
caught-up-with-him/ ). One of Engels’ typical MOs is hiding behind the veil of being a journalist. This
is really no diﬀerent than lots of perpetrators that you inves*gate and I used to prosecute, they put
one seemingly legi*mate foot in the door and through the opening spew their criminality. Engels also
commonly reverts to being hyper-aggressive and issuing lots of threats.

Looking at Engel’s October 29th e-mail, his last paragraph gives away his inten*on of in*mida*ng Brian
through Trinity’s aversion to being *ed to controversy. One of the mo*ves for the inten*on is to get
Brian to withdraw from the campaign. This is given away by the lines “By deciding to run for elected
oﬃce, Mr. Beute has brought the microscope on himself and Trinity Prep. It is my sincere hope that
you are able to fulﬁll these requests and show Seminole County residents that Mr. Beute and Trinity
Prep have nothing to hide from voters….” The pre\y clear message is that if Brian stays in the race,
Engel is going to use a microscope on Trinity to paint them as nefarious and hiding something.



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Engel’s February 2019 e-mail also reveals the same kind of mo*ve, to in*midate Brian through Trinity’s
aversion to being *ed to controversy. By calling the density zone which Seminole County ci*zens voted
for “racist”, claiming that Brian is “involved in opposing the removal of the racist rural boundary line”,
and claiming that Brian is “leading this pro-segrega*on group”, he is clearly a\emp*ng to scare Trinity
and in*midate Brian into stopping his ac*vism. There is no reason for Jacob to do this other than
being paid by the person who stood to proﬁt from the RiverCross development and who had been
infuriated by the ac*vists who opposed his money making eﬀorts, Chris Dorworth. For what it’s
worth, while Jacob used as cover for his e-mail to Trinity that he was looking for informa*on for a story
that was running on February 20th, there was no such story.

Further connec*ng the dots and building on the informa*on that Engels is known to accept money to
write ﬂuﬀ pieces on a client or hit pieces on his client’s opponents, I looked over his website. There
are at least two ﬂuﬀ posts on Joel Greenberg, which are not consistent with ‘news’ or something that
would be on Engel’s page without being mo*vated by a payment. Here is one example:

       Joel Greenberg Partnering With Local Dog Rescue This Saturday

       h\ps://www.centralﬂoridapost.com/2019/05/01/joel-greenberg-partnering-with-local-dog-rescue-
       this-saturday/

Here is an over the top praise piece which is clearly designed to scare away any opponents by showing
the treasure chest that Greenberg has created, which is a common campaign strategy.

       With $240k In Bitcoin, Seminole Tax Collector Files For 2020 Election

       h\ps://www.centralﬂoridapost.com/2019/09/27/with-240k-in-bitcoin-seminole-tax-collector-ﬁles-
       for-2020-elec*on/

PDFs of those Engle ﬂuﬀ-posts on Greenberg are a\ached, if you’d rather not follow the link.

There’s no similar pieces for all of the other elec*ons that we’re coming up on, only for this rela*vely
obscure posi*on of Seminole County tax collector. Why is Jacob focused like a laser beam on the
elec*on for the Seminole County tax collector? The most likely reason is that he has been hired by the
incumbant (Greenberg) and is s*ll being paid by the incumbant’s good friend (Dorworth). This is
evidence of a connec*on between Engels and both Greenberg and Dorworth, which certainly has a
ﬁnancial component (i.e. Greenberg is hiring Engels to write these ﬂuﬀ pieces). With this connec*on,
it wouldn’t be any stretch whatsoever that Greenberg would also hire Engels to do dirty work on his
behalf, such as write defamatory le\ers. Engels just happened to step over the line and commit a
crime in this October 2019 defamatory e-mail.

Thank you again for all that you are doing to try and iden*fy who has purpetrated this crime on Brian.
Your work is very much appreciated,

   -    Dave

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DO NOT read, copy or disseminate this communica*on unless you are the intended addressee. This e-mail
communica*on contains conﬁden*al and/or privileged informa*on intended only for the addressee. If you
have received this communica*on in error, please call us immediately at 888-306-5691 and ask to speak to
the sender of the communica*on. Also please e-mail the sender and no*fy the sender immediately that you
have received the communica*on in error. Thank you. Bear Legal Solu*ons, PLLC.


From: David Bear
Sent: Tuesday, October 29, 2019 7:08 PM
To: j*rado@seminolesheriﬀ.org
Subject: Inves*ga*on into False Police Report Against Brian Beute

Detec*ve Tirado, I hope all is well. I’m wri*ng to provide some informa*on that I think may be helpful in
inves*ga*ng the author and director of the October 2019 defamatory le\er that was sent to Trinity Prep
regarding Brian Beute. Whomever wrote the le\er violated Fla. Stat. 817.49 as did anybody who directed or
assisted him. I suspect that someone who had their own intrinsic mo*va*on to in*midate Brian into silence
hired the author in an eﬀort to keep himself once removed, as this is what happened in February 2019.

In order for you to fully inves*gate who wrote and directed the October 2019 defamatory le\er, I think it’s
important for you to have some background informa*on. Brian serves as the president of the non-proﬁt Save
Rural Seminole. Save Rural Seminole is an advocacy group which is commi\ed to preserving Seminole
County’s Rural Boundary. The Rural Boundary is a voter approved zoning requirement which is designed to
keep much of the area east of the Econ River from devolving into high-density development.
h\ps://saveruralseminole.org/ . In 2018, there was a large development proposed on the east side of the
Econ near UCF. This development was called River Cross and the developer was Chris Dorworth. Dorworth
has been a powerful poli*cal ﬁgure and is used to geung his way. Save Rural Seminole rallied community
opposi*on to the River Cross development which resulted in the Seminole County Commissioners rejec*ng
the project. Needless to say, Dorworth was not happy. Dorworth ﬁled a lawsuit against Seminole County
alleging racial discrimina*on in their rejec*ng of his development. Much of Dorworth’s anger was directed at
community ac*vism, such as that by Save Rural Seminole. Dorworth aggressively a\acked people on Save
Rural Seminole’s Facebook page, un*l he was banned. He also harassed a former board member (Jay Miller),
ac*ng under the incorrect belief that the guy was s*ll on the board. I wrote a cease and desist le\er to
Dorworth on behalf of Jay Miller, which thankfully made that stop. A copy of the C&D le\er regarding Jay
Miller is a\ached.

Dorwoth has a history of hiring a local provocateur which considers himself a journalist, Jacob Engels. Jacob
runs a website called Central Florida Post, is closely aligned with Roger Stone
h\ps://www.thedailybeast.com/meet-jacob-engels-roger-stones-mini-me , has repeatedly been connected
with the podcast Info Wars h\ps://www.orlandoweekly.com/Blogs/archives/2018/11/27/member-of-
extremist-group-proud-boys-considering-a-run-for-orange-county-republican-execu*ve-commi\ee, and is
frequently connected with the Proud Boys h\ps://itsgoingdown.org/ﬂorida-proud-boys/ . Jacob has had
defama*on lawsuits against him and I have conﬁrmed that in at least one of those suits it was shows that
Dorworth was his ﬁnancer for the defama*on. Orange County case 2017-CA-004220. That case involved a
poli*cal dispute between Dorworth and Max Crumit. Dorworth hired Engels to write false hit pieces about
Crumit, which resulted in Crumit being forced to step down from his posi*on. In that case, Jacob tried to
defend his speech by claiming that he was a journalist. The Court disagreed. Jacob se\led in early 2019; it’s
clear the se\lement money came from Dorworth.

In February 2019, Trinity received an e-mail from Jacob Engels which in eﬀect threatened to out them for
employing a racist, which Jacob was claiming Brian Beute to be. The e-mail from Jacob claimed that Brian

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employing a racist, which Jacob was claiming Brian Beute to be. The e-mail from Jacob claimed that Brian
was a racist because he was opposing the RiverCross development, which the developer claimed would
provide low-income housing. This is of course absurd and the inten*on of making allega*ons of racism to
Brian’s employer was clearly to in*midate him and anybody else from con*nuing to oppose the RiverCross
development. I wrote a cease and desist le\er on Brian’s behalf, a copy of which is a\ached. That thankfully
stopped the nonsense, un*l recently. That cease and desist le\er also served to conﬁrm the connec*on
between Dorwoth and Jacob, as the le\er was mailed cer*ﬁed to Jacob but was e-mailed to Dorworth’s
a\orney. On the same day as the le\er was e-mailed to Dorwoth’s a\orney and long before it reached Jacob
by post, Jacob sent a threatening e-mail to my co-counsel. The cease and desist le\er sent by cer*ﬁed mail
to Jacob and by e-mail to Dorworth’s a\orney on 2/22/19 mid-axernoon; Jacob’s sent his e-mail to my co-
counsel on 2/22/19 at 9:06 PM. This clearly conﬁrmed that a line of communica*on already existed between
Jacob and Dorworth. It is also known that one of Chris Dorworth’s conﬁdants is current tax collector Joel
Greenberg. Here are some links which illustrate their connec*ons:
h\ps://twi\er.com/JohnMorganESQ/status/1086025460176191488;
h\ps://twi\er.com/JoelGreenbergTC/status/1142319963182641152 . The ﬁrst link is a video of Greenberg
and John Morgan at Dorworth’s house (note the sign in the background which reads ‘Dorworth Family Pool’;
Dorworth is taking the video. A\ached is a screen shot from that video. At the *me, we also heard through
local poli*cal connec*ons that Joel was involved in the February 2019 defamatory le\er to Trinity. If there
were any other defamatory ac*ons taken, we were going to ﬁle suit and those connec*ons would have been
sought in discovery. However at the *me we were simply happy that these guys stop harassing Brian, that’s
all we wanted.

Fast forward nine months and Brian announced that he was running for Seminole County tax collector.
h\ps://www.orlandosen*nel.com/news/seminole-county/os-ne-seminole-county-tax-collector-candidate-
beute-20191009-mlx5xlz5w5acharcvonetlpklq-story.html ; h\ps://www.facebook.com/brian4taxcollector/?
ref=py_c . The incumbent is Joel Greenberg and he made it clear that he was none too happy that Brian was
running. I don’t think anybody would disagree with the characteriza*on that Joel is the insider party
candidate and Brian is the outsider. Only two weeks axer Brian announced, this disgus*ng le\er (the
October 2019 defamatory le\er) which you’re inves*ga*ng was sent to Brian’s employer, Trinity Prep. It
follows the same general pa\ern as the February defamatory le\er, threatening Brian through his employer
and a\emp*ng to capitalize on his employer’s fear of bad PR. Giving the *ming, it is highly unlikely that the
le\er is not related to Brian’s announcing that he was running. It’s clearly an eﬀort to undermine the elec*on
through the crime of false repor*ng. Given the similarity in MO, it’s also highly unlikely that this new le\er is
not related to the February defamatory le\er. The one big diﬀerence between the February 2019 defamatory
le\er and the October 2019 defamatory le\er is that the author of the October le\er commi\ed a crime by
making a false police report. Fla. Stat. 817.49. While the February 2019 defamatory le\er doesn’t appear to
by itself be a crime, it does provide us insight and evidence into who commi\ed the crime of wri*ng (and
direc*ng) the October 2019 defamatory le\er.

Today I learned that Jacob Engels has again contacted Trinity and asked for a copy of Brian Beute’s
employment ﬁle. While he of course has no right to this, it seems clear that this is connected to the October
defamatory le\er and is a furtherance of the eﬀort of the October 2019 le\er to threaten and in*midate
Brian. Jacob obviously has knowledge that the October 2019 le\er was sent, whether because he sent it
himself (as he did the February 2019 defamatory le\er), was involved with direc*ng it, or the person who
sent the October 2019 le\er told him about it. Candidly, I think this goes a long way (if not all the way) to
establishing PC for a warrant to seize and inspect Jacob’s computers and documents.

Looking at those who would be mo*vated to send or have this disgus*ng le\er wri\en and sent to Trinity,
some of the suspects have to be:

    1) Chris Dorwoth – Mo*va*on: Showed in February 2019 that he was very mad at those who fought his
       River Cross development, Brian being on the top of his list. Conﬁdent he was the ﬁnancer of Jacob

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      Engels’s February 2019 defamatory le\er.
   2) Joel Greenberg – Mo*va*on: Tank his opponent’s campaign. Believes that he is the party’s candidate
      and its not ‘right’ that he has to face a primary opponent. Also, conﬁdant of Dorworth, who was mad
      at Brian for his involvement in stopping his friend’s development in River Cross. Rumored in February
      2019 to have been involved in the February 2019 defamatory le\er.
   3) Jacob Engels – Author of February 2019 defamatory e-mail, which we are conﬁdent was paid for by
      Dorworth and may have also had Greenberg’s involvement. It would have been consistent in MO for
      him to have been a part of this eﬀort, too. He obviously has knowledge of the event due to his recent
      records request from Trinity.
   4) Others who beneﬁt ﬁnancially from Joel Greenberg being in oﬃce – This would prominently include
      Joe Ellico\ (Big Joe) h\ps://www.orlandosen*nel.com/opinion/os-op-lauren-ritchie-seminole-tax-
      collector-joel-greenberg-20191004-3k5tlmralnes5mxdj27l6oxciu-story.html

Brian and I are very glad that you are having the ﬁnger prints run. I hope you will also have the handwri*ng
compared against known samples of suspects. We are a\emp*ng to gather sources of known handwri*ng
samples of some of these suspects. Here is one for Jacob Engels:
h\p://search.sunbiz.org/Inquiry/Corpora*onSearch/ConvertTiﬀToPDF?
storagePath=COR%5C2010%5C1201%5C87735980.Tif&documentNumber=L10000111119

Joe Ellicot: h\p://search.sunbiz.org/Inquiry/Corpora*onSearch/ConvertTiﬀToPDF?
storagePath=COR%5C2002%5C0509%5C94001CF1.*f&documentNumber=P01000016916 ;
h\p://search.sunbiz.org/Inquiry/Corpora*onSearch/ConvertTiﬀToPDF?
storagePath=COR%5C2016%5C0811%5C88388566.Tif&documentNumber=L16000011798

Also note Jacob Engel’s various businesses and business associates:
h\p://search.sunbiz.org/Inquiry/Corpora*onSearch/SearchResults/OﬃcerRegisteredAgentName/engels%20j
acob/Page1

We hope that you will interview the lead suspects, as well.

Note that Greenberg is a known advocate of bitcoin, and has even made this a central aspect of changes he
has made at the tax collector’s oﬃce. Bitcoin of course can be used to disguise money connected to criminal
ac*vity.

It’s really sickening what has been done to Brian and both he and I are happy to do whatever we can to help
track down the purpetrators. Brian will be more than happy to sit down and discuss this ma\er with you. Let
me know when you think a good *me for that will be. Given the poli*cal posi*ons and clout of the primary
suspects, and that this crime seemingly involves an eﬀort to undermine the upcoming elec*on, I think it
would be wise to involve Sheriﬀ Lemma. When you have a few moments, I would like to discuss whether a
mee*ng with Sheriﬀ Lemma over this is possible. My cell phone is 407-739-0889.

Many thanks,

- Dave

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